     Case 1:15-cv-01718-BAH Document 47-8 Filed 11/20/18 Page 1 of 3

DONALD KIRK                                                                                       May 01, 2018
WALEN vs UNITED STATES OF AMERICA                                                                          1–4
                                                 Page 1                                                    Page 3
·1· · · · · · · ·UNITED STATES DISTRICT COURT              ·1· · · · · · · A P P E A R A N C E S
·2· · · · · · · · · ·DISTRICT OF COLUMBIA                  ·2· ·ON BEHALF OF PLAINTIFF:
·3· - - - - - - - - - - - - - -x                           ·3· · · · ADAM ROTH, ESQUIRE
·4· ·MARY LOU WALEN,· · · · · ·:                           ·4· · · · PRICE BENOWITZ, LLC
·5· · · · · · ·Plaintiff,· · · :                           ·5· · · · 409 Seventh Street, N.W.
·6· · · v.· · · · · · · · · · ·:· Case No. 15-1718 (BAH)   ·6· · · · Washington, D.C.· 20004
·7· ·UNITED STATES OF· · · · · :                           ·7· · · · (202) 417-6015
·8· ·AMERICA, et al.,· · · · · :                           ·8· · · · adam@pricebenowitz.com
·9· · · · · · ·Defendants.· · ·:                           ·9
10· - - - - - - - - - - - - - -x                           10· ·ON BEHALF OF DEFENDANT UNITED STATES OF AMERICA:
11                                                         11· · · · WYNEVA JOHNSON, ESQUIRE
12· · · · · · · · Deposition of DONALD KIRK                12· · · · W. MARK NEBEKER, ESQUIRE
13· · · · · · · · · · Washington, D.C.                     13· · · · UNITED STATES DEPARTMENT OF JUSTICE
14· · · · · · · · · ·Tuesday, May 1, 2018                  14· · · · 555 Fourth Street, N.W.
15· · · · · · · · · · · ·11:47 a.m.                        15· · · · Washington, D.C.· 20530
16                                                         16· · · · (202) 252-2518
17                                                         17· · · · wyneva.johnson@usdoj.gov
18                                                         18· · · · mark.nebeker@usdoj.gov
19                                                         19
20                                                         20
21                                                         21
22                                                         22
23                                                         23
24                                                         24
25· Reported By: Keith A. Wilkerson                        25

                                                 Page 2                                                    Page 4
·1· · · ·Deposition of DONALD KIRK, held at the offices    ·1· · A P P E A R A N C E S· ·C O N T I N U E D
·2· of:                                                    ·2· ·ON BEHALF OF DEFENDANT UNITED STATES OF AMERICA:
·3                                                         ·3· · · · CHARLES WALLACE, ESQUIRE
·4                                                         ·4· · · · UNITED STATES DEPARTMENT OF THE INTERIOR
·5· · · · · · OFFICE OF THE UNITED STATES ATTORNEY         ·5· · · · OFFICE OF THE SOLICITOR
·6· · · · · · 501 Third Street, N.W.                       ·6· · · · 340 Concord Street
·7· · · · · · Washington, D.C.· 20001                      ·7· · · · Charleston, South Carolina· 29401
·8                                                         ·8· · · · (843) 740-1292
·9                                                         ·9· · · · charles.wallace@sol.doi.gov
10                                                         10
11                                                         11· ·ON BEHALF OF DEFENDANT DISTRICT OF COLUMBIA:
12                                                         12· · · · BENJAMIN E. BRYANT, ESQUIRE
13· · · ·Pursuant to notice, before Keith A. Wilkerson,    13· · · · ASSISTANT ATTORNEY GENERAL
14· Notary Public in and for the District of Columbia.     14· · · · CIVIL LITIGATION DIVISION, SECTION IV
15                                                         15· · · · 441 Fourth Street, N.W., Suite 630 South
16                                                         16· · · · Washington, D.C.· 20001
17                                                         17· · · · (202) 724-6652
18                                                         18· · · · benjamin.bryant@dc.gov
19                                                         19
20                                                         20
21                                                         21· ·ALSO PRESENT:
22                                                         22· · · · PETER A. GENTILE
23                                                         23· · · · · · · · · · · - - -
24                                                         24
25                                                         25



                                                                                      800.211.DEPO (3376)
                                                                                      EsquireSolutions.com          YVer1f
      Case 1:15-cv-01718-BAH Document 47-8 Filed 11/20/18 Page 2 of 3

DONALD KIRK                                                                                                      May 01, 2018
WALEN vs UNITED STATES OF AMERICA                                                                                      13–16
                                                           Page 13                                                             Page 15
·1· Creek Park?                                                      ·1· · · · A· ·Generally.
·2· · · · A· ·It could be millions.                                  ·2· · · · · · BY MR. ROTH:
·3· · · · Q· ·If a tree falls in the woods is anyone going           ·3· · · · Q· ·How do you do that?
·4· to get hurt?                                                     ·4· · · · A· ·There are certain ways.· Certainly, in the
·5· · · · A· ·It's possible.                                         ·5· spring, summer and fall seasons they have foliage, and
·6· · · · Q· ·Are you familiar with the term "target?"               ·6· that's the easiest way to tell.
·7· · · · A· ·Yes.                                                   ·7· · · · Q· ·So let me stop you before we talk about the
·8· · · · Q· ·What does that mean in terms of looking at             ·8· winter.· You said they have foliage and that's the
·9· trees?· I don't know to know about shopping.                     ·9· easiest way to tell.· What are the signs of a dead
10· · · · A· ·A target is if a tree falls is it going to             10· tree or the symptoms, either one?
11· hit anything and does it matter.· If it hits the                 11· · · · A· ·They generally won't have foliage on them.
12· ground it probably doesn't matter a whole lot, like in           12· Now, if it's an evergreen tree it won't have needles
13· an open field.· People can be targets and property can           13· or they'll be brown.· It's possible that a dead tree
14· be targets.· When you're looking at tree care, people            14· could have dead leaves hanging on it.· For instance, a
15· are way more important than things, so when we're                15· lot of oak trees, if they die they'll retain their
16· doing an assessment of a tree and its health and what            16· foliage, especially if they die in the summertime.
17· it could do if it dies or has a defect, the target is            17· · · · Q· ·Is there anything else besides their being
18· more important if it's a person than if it's a thing,            18· brown and the lack of foliage?
19· but there are certain values to things, too.· I don't            19· · · · A· ·There are certainly other things.
20· know if that was a clear answer.                                 20· · · · Q· ·What are they?
21· · · · Q· ·I'll drill down a little bit.· Are you given           21· · · · A· ·If it's in the wintertime you can scrape the
22· instructions for valuing targets?· Is that a                     22· bark, and it's going to be green underneath or white.
23· discretionary thing where you kind of get some leeway?           23· That's usually an indication that the tree is alive.
24· · · · A· ·There are guidebooks.· I have -- I can't               24· If it's either hard to scrape a little bit of the bark
25· think of the name of it.· I have a book in my office             25· or if it's brown or like a dark yellow -- and it

                                                      Page 14                                                               Page 16
·1· that has tree valuations.· That's mainly dollar                  ·1· depends on the variety -- that would be an indication.
·2· values.· It wouldn't be something that I would use for           ·2· If the stems snap in your hands the stems are usually
·3· a risk assessment.                                               ·3· dead.
·4· · · · Q· ·Well, what do you use for risk assessment?             ·4· · · · Q· ·What if the limbs are hollow?
·5· · · · A· ·Risk assessment is looking at the health of            ·5· · · · A· ·That doesn't necessarily mean the tree is
·6· a tree, so taking the biology of what a normal or                ·6· dead, especially on the trunk.· It's normal for the
·7· average tree would look like, a certain species in a             ·7· inside cavity of a tree, in certain species
·8· certain location -- trees in a wood area are going to            ·8· especially, to be hollowed out.
·9· be taller and stretching more for light, whereas ones            ·9· · · · Q· ·So not the trunk but the limbs also, you
10· in a landscape tend to be broader -- but looking at              10· tend to see hollow limbs?
11· the normal characteristics of that tree, you know,               11· · · · A· ·Not as much.· Some larger lateral branches
12· does it have a well balanced canopy, are there                   12· could be hollowed out.· That's normal because the
13· branches crossing, does the root flare or is it coming           13· trees put their -- it's dead wood anyway.· That wood
14· straight up out of the ground; so looking at different           14· inside is dead.
15· things like that, but also looking for insects,                  15· · · · Q· ·Even if the tree's alive?
16· diseases, physical damage, is a branch broken.· Signs            16· · · · A· ·Yes.· Trees conduct water up through the
17· of fruiting bodies from certain fungi at the base of a           17· outer live section of the tree and on the branches,
18· tree could be a sign.                                            18· too.· For the most part, the branches are going to
19· · · · Q· ·What about shine?· Do trees have a glow                19· stay solid all the way out, but occasionally,
20· about them if they're healthy?                                   20· especially on more vertical branches, they may be
21· · · · A· ·I don't know.                                          21· hollow, and that's normal.· A tree can still carry
22· · · · Q· ·Can you as an expert with obviously 30 some            22· water up and down.· And then the very outer cambium,
23· odd years of horticultural experience, can you look at           23· which is the living part, is sometimes less than a
24· a tree and see if it's alive or not?                             24· quarter of an inch thick.
25· · · · · · MR. NEBEKER:· Objection.· Vague.                       25· · · · Q· ·So live trees have dead wood?


                                                                                                    800.211.DEPO (3376)
                                                                                                    EsquireSolutions.com                 YVer1f
      Case 1:15-cv-01718-BAH Document 47-8 Filed 11/20/18 Page 3 of 3

DONALD KIRK                                                                                                   May 01, 2018
WALEN vs UNITED STATES OF AMERICA                                                                                   21–24
                                                          Page 21                                                          Page 23
·1· workload, the Park Service workload, or it will get             ·1· you're not really stopping to look.· You're just
·2· collected.                                                      ·2· looking for things that catch your eye that don't look
·3· · · · · · If it's a tree -- and this is going to be a           ·3· right.· We do those all the time.
·4· judgment call -- a tree that isn't urgent, if it's              ·4· · · · Q· ·Do you do those as chief of maintenance or
·5· going to be okay, if we've identified that it's a               ·5· do your people do those?
·6· hazard or a risk but it's not an imminent risk like             ·6· · · · A· ·The answer is yes.· I do them because I'm
·7· "today," those would generally go to the contractor.            ·7· driving in the park and I'm trained.
·8· They come out and do a bid on it, and the lowest bid            ·8· · · · Q· ·Do you do them by yourself or with someone?
·9· wins in this case because they've already been vetted.          ·9· · · · A· ·They'll generally be by myself because I'm
10· · · · Q· ·You said depending on the risk of the tree.           10· going to or from somewhere.
11· Are there gradations of risk?· How many grades of risk          11· · · · Q· ·And do you document the visual drive-bys?
12· are there?                                                      12· · · · A· ·Very rarely.· Only if I see something that
13· · · · A· ·It's more of a constant and not a numbered            13· sends up a red flag.
14· grade.· It would be a matter of -- there are a lot of           14· · · · Q· ·Do you have a convertible?· I'm not trying
15· variables.· One is the type of tree.· If it's a red             15· to get too personal, but --
16· oak tree and it's dead as a doornail most arborists             16· · · · A· ·The speed limit in most places in Rock Creek
17· will know that oak trees tend to not fall apart, that           17· Park is 25 miles an hour except when people are
18· they have a lot of integrity, so a dead oak tree can            18· hitting potholes.
19· wait a while for the most part.· If it's a root                 19· · · · Q· ·Well, it's getting better with the repaving
20· problem it could be something different.· That part is          20· process that's going on.· So you're driving by without
21· a judgment call.                                                21· a convertible.
22· · · · · · If the target is an area where people don't           22· · · · A· ·Yes, but you can see a lot.· Plus, I spend a
23· gather, they may go there occasionally but they don't           23· lot of time in the park on my own personal time.
24· gather there, we don't have benches or trails or                24· These are things that aren't really documented.· But
25· picnic tables there, then it's a lower risk.                    25· as soon as I see something that looks out of kilter it

                                                       Page 22                                                            Page 24
·1· · · · · · I'll give you an example.· We have a picnic           ·1· gets noted, and we will occasionally close a road if
·2· grove on one side of Beach Drive, picnic tables, fire           ·2· necessary is something is really outstanding.· I don't
·3· pits, all that, and on the other side of Beach Drive            ·3· know if I answered your original question.
·4· there's a grassy area.· If there's a dead tree there            ·4· · · · Q· ·That's okay.· We were talking about root
·5· that tree could probably wait a while, whereas if               ·5· problems and how to identify them.
·6· there's something in the picnic grove we would want to          ·6· · · · A· ·So I mentioned level one.· Level two is a
·7· act on that immediately.                                        ·7· closer look, where you actually walk under the tree
·8· · · · Q· ·You said a root problem.· What are the signs          ·8· and look up and look down.· You usually won't do
·9· and symptoms of a root problem?· You said unless                ·9· anything more than take a really close look at the
10· there's a root problem, that that could be something            10· tree.· And a level three inspection is when you would
11· different.· Tell me what a root problem is and how you          11· do more diagnostic things.
12· would ID it.                                                    12· · · · · · At a level two you might see mushrooms
13· · · · A· ·A root problem is a little harder to detect.          13· coming out of the base of the tree or sap flowing down
14· A lot of times there's something going on in the                14· the side of a tree.· Depending on the type of tree,
15· canopy of a tree that might give a clue, if the tree's          15· those would be indications that something's going on
16· thin, if some of the branches are wilted.· If there's           16· that could be wrong.· Certain diseases are very
17· something that isn't right about the way the tree               17· indicative.· You know, Armillaria rot of an oak tree
18· looks, that might be at least a sign that there's a             18· has a certain kind of fruiting body, and if you see it
19· root or vascular problem.                                       19· you know you've got it and you know that you might
20· · · · · · A tree that's a potentially hazardous tree,           20· have a root problem.· If the tree has a very high
21· if something looks odd -- I don't know how to describe          21· target, like if you have a picnic area and you have a
22· it.· There are different ways that we inspect trees.            22· tree with this disease, you probably should either
23· One is visual, and that's the most common.                      23· watch the tree very closely and do more of a diagnosis
24· · · · Q· ·Those are the drive-bys?                              24· to see what's really going on with the root system.
25· · · · A· ·It could be a drive-by or a walk-by, but              25· · · · Q· ·When you say further diagnostics, that's a


                                                                                                 800.211.DEPO (3376)
                                                                                                 EsquireSolutions.com                YVer1f
